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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 22-CV-22538-ALTMAN/REID



  PIERCE ROBERTSON, et al.,

                                  Plaintiffs,
  v.
  MARK CUBAN, et al.,
                                  Defendants.

                                                                             /


          DEFENDANTS MARK CUBAN AND DALLAS BASKETBALL LIMITED
       D/B/A DALLAS MAVERICKS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’
             REQUEST FOR A BRIEF STATUS CONFERENCE [ECF NO. 12]

          Defendants MARK CUBAN and DALLAS BASKETBALL LIMITED d/b/a DALLAS

  MAVERICKS (collectively “Defendants”) file this Response in Opposition to Plaintiffs’ Request

  for a Brief Status Conference [ECF No. 12], and state that Plaintiffs’ Request should be denied

  for the following reasons:

          1.       On August 31, 2022, this Court issued an Order that stayed and administratively

  closed the instant case. [ECF No. 8: p. 2]. Nine days later, the Court ordered that “[t]his case

  shall remain administratively CLOSED.” [ECF No. 10: p. 1].

          2.       The September 9, 2022 Order also requires Defendants to file with this Court

  “any order the bankruptcy court” – in the Chapter 11 bankruptcy action pending before the

  United States Bankruptcy Court for the Southern District of New York, Case No. 22-10943

  (MEW), and initiated by Voyager Digital Holdings, Inc., Voyager Digital, Ltd., and Voyager

  Digital, LLC (together “Voyager Debtors”) – issues following the October 18, 2022 hearing on




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  the Voyager Debtors’ Motion for Stay.1              2
                                                          [ECF No. 10: p. 1]. Additionally, the September 9th

  Order sets forth a summary of the parties’ future course of action in this action contingent upon

  the possible outcomes of said upcoming Bankruptcy Court hearing. [ECF N0. 10: pp. 1-2].

          3.       Based on this Court’s above-discussed clear and unambiguous Orders and the

  guidance it provided concerning how to proceed depending upon the Bankruptcy Court’s

  ruling(s), there is currently no need for a status conference and any updates are only required

  on/after October 18, 2022.

          4.       If the Voyager Defendants’ Motion for Stay is granted next month, a status

  conference in this action remains unnecessary.                      Alternatively, the denial of the Voyager

  Defendants’ Motion for Stay may thereafter warrant a status conference. Any discussion of steps

  Plaintiffs may or may not take in this action, if and when it is administratively reopened, could

  take place at such status conference after a ruling by the Bankruptcy Court, assuming this Court

  deems it appropriate and justified.

          5.       Plaintiffs’ counsel’s present efforts to preview anticipated vague stay arguments

  in opposition to the Voyager Debtors’ Motion for Stay are unnecessary and entirely

  inappropriate in this proceeding, and instead should be presented (if Plaintiffs elect to advance


          1
            The October 18, 2022 Bankruptcy Court hearing was originally scheduled for Tuesday,
  September 13, 2022, but was postponed for over one month due to the appearance of Plaintiffs’
  newly-retained bankruptcy counsel with the firm of Pachulski Stang Ziehl & Jones LLP
  (“PSZJ”), as Plaintiffs acknowledge in their at-issue Request. [ECF No. 12: pp. 1-2].
  Defendants are advised that the adjournment was consented to by Debtors’ counsel based on
  certain representations made by Plaintiffs’ counsel to cease any efforts to take any “further
  actions” in this Florida action until after the Bankruptcy Court had ruled on the stay motion. As
  a result of such adjournment, Plaintiffs obtained additional time to prepare a response to the stay
  motion, which otherwise would have been heard on September 13, 2022.

          On September 7, 2022, Defendants represented that they will “promptly file with this
          2

  Court any order that the Bankruptcy Court issues in connection with the hearing, now set for
  October 18, 2022.” [ECF No. 9: pp. 1-2].
                                                               2

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  such arguments) and addressed by Debtors (and others) in papers filed with the Bankruptcy

  Court in connection with Voyager Debtors’ Motion for Stay, and argued before the Bankruptcy

  Court at the October 18, 2022 hearing. Indeed, it is the Bankruptcy Court which will rule on the

  stay motion. The Bankruptcy Court will determine at the October 18th hearing, inter alia,

  whether, as Debtors maintain, a civil case alleging aiding and abetting and other related conduct

  all tied to Debtors’ conduct requires an adjudication of the underlying conduct of Debtors, thus

  in turn requiring that the stay already in place as to claims against the Debtors be extended to all

  defendants named in this action.

          6.       Moreover, a status conference in this administratively-closed case to simply

  introduce Plaintiffs’ new co-counsel is equally unnecessary and quite simply a waste of this

  Court’s precious time and resources. Any proffered discussions regarding “a provisional and

  proposed Leadership of this litigation for when it does proceed,” which presuppose this case is

  administratively reopened following the Bankruptcy Court’s ruling, are unequivocally

  premature. [ECF No. 12: p. 2].

          7.       Defendants are also constrained to note that Plaintiffs did not comply with S.D. of

  Fla. Local Rule 7.1(a)(3), which requires that an opponent be given a reasonable amount of time

  to contemplate whether to oppose the movant’s requested relief. Here, Plaintiffs’ counsel,

  Joseph Kaye (of The Moskowitz Law Firm, PLLC), first contacted the undersigned counsel for

  Defendants at 4:13 PM on Friday, September 9, 2022, regarding Plaintiffs’ subject Request and

  stated: “Please see attached for some materials we are filing later today. Please confirm for us by

  EOB no objection, thank you.” The acronym “EOB” stands for the end of the business day. At

  that point in time, the EOB was only 47 minutes away.




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          8.       Defense counsel nevertheless promptly responded at 4:50 PM that Plaintiffs’

  Request was improper and objected to.

          9.       Finally, not mentioned in Plaintiffs’ Request or their attorneys’ Local Rule 7.1

  Certification is the fact that it appears that Plaintiffs’ counsel failed to contact the Voyager

  Debtors’ bankruptcy counsel at Kirkland & Ellis LLP to seek his/their consent prior to filing the

  request for a status conference. Said conferral communication and consent were absolutely

  necessary because Plaintiffs’ bankruptcy counsel from the PSZJ firm had represented the

  following to Debtors’ counsel (and copied Plaintiffs’ Florida counsel Adam Moskowitz and

  Joseph Kaye) one week earlier, on September 2, 2022 at 5:26PM: “We are in agreement to

  adjourn the motion to extend the stay until a date in October. We are also in agreement that we

  will not try to serve Mr. Ehrlich or take any further actions in the FL [Robertson] case until

  after the hearing on the motion to extend the stay.” (emphasis added). Plaintiffs’ pending

  Request is therefore disingenuous and undeniably contrary to representations made to Debtors’

  counsel, done with the express knowledge and on behalf of Plaintiffs’ Florida counsel (Messrs.

  Moskowitz and Kaye), who were copied on the communication.

          WHEREFORE, Defendants respectfully submit that the Court deny “Plaintiffs’ Request

  for a Brief Status Conference” in “late September” and prior to the October 18, 2022 Bankruptcy

  Court hearing on the Voyager Debtors’ Motion for Stay.

                                                                    Respectfully submitted,
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                                          CERTIFICATE OF SERVICE
          I hereby certify that on September 11th, 2022, the foregoing document was electronically

  filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is

  being served this day on all counsel of record on the attached Service List in the manner

  specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

  some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.




                                                                    /s/ Christopher E. Knight
                                                                    CHRISTOPHER E. KNIGHT
                                                                    Fla. Bar No. 607363




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